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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

 

INDIANAPOLIS DIVISION

Deborah Walton, )

)

)

Plaintiff, )

)

vs. )
)1;1 5-CV- 082 ZTWP -DML

EOS CCA and AT&T, )

)

Defendant. )

)

COMPLAINT AND DEMAND F()R JURY TRlAL

Plaintiff, Deborah Walton, pro se (“Plaintiff”), as and for her complaint, alleges as
follows:

Introduction

1. This is an action brought by an individual consumer for actual and statutory damages,
legal fees and costs pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,
et. seq (hereinafter referred to as the “FDCPA”), which prohibits debt collectors from
engaging in abusive, deceptive, and unfair practices And the Fair Credit Reporting Act
15 U.S.C. § 1681 et. seq (hereinaiter referred to as the “FCRA”), which prohibits
Creditors from engaging in abusive, deceptive, and unfair practices

Jurisdiction

2. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §
1692 et. seq and 15 U.S.C. § 1681 et. seq

Venue

3. Venue is proper in this Judicial District since the Defendants conduct business and maintain
oHices here.

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Parties
The Plaintiff`, Deborah Walton, is a natural person.
The Plaintiff is a “consumer” as that term is defined by § 1692a.
The Plaintiff is “any person” as that term is used in 15 U.S.C. § 1692d preface.

T he Def`endant, EOS CCA, (hereinafter referred to as “EOS”), is a debt collection agency
and/or debt purchaser operating from an address at 700 Longwater Dr., Norwell, MA
0206 1 .

The Defendant, EOS, is a debt collection agency and the Defendant, EOS, is licensed by
the State of Indiana.

Defendant regularly attempts to collect, directly or indirectly, debts owed or due or
asserted to be owed or due another.

The Defendant regularly collects or attempts to collect, directly or indirectly, debts owed
or due or asserted to be owed or due another that arose out of transactions in which the
money, property or services which are the subject of the transactions are primarily for
personal, family or household purposes

The Defendant AT&T, (hereinafter referred to as AT&T”), is a creditor that provides
services in Indiana operating from an address at:

AT&T's Corporate office Headquarters HQ
208 South Akard Street
Dallas, TX 75202

The Defendant AT&T, regularly conducts business in Indiana providing many different
services and products

Factual Allegations

The Defendant is a debt collection agency attempting to collect a debt from Plaintif’f`,
that initially incurred a debt to that was primarily for personal, family or household
purposes as defined by §l692(a)(5).

The debt owed by Plaintiff was satisfied by the Plaintiff and AT&T.

The Plaintiff continued to have technical issues with her U-Verse TV service that was
provided by AT&T, so she canceled the service

AT&T informed the Plaintiff that they would credit the balance due, since the service did
not work according to the U-Verse agreement

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17. The Plaintiff receive a letter many months after the service was terminated and she
contacted the Executive Offlces of AT&T and informed them of the arrangements they
made with her prior to receiving the letter. See Exhibit “A ” attached hereto.

18. The Plaintiff also provided a deposit to AT&T prior to the installation of U-verse.

19. The Plaintiff received a letter from EOS CCA on or about January 28, 2015 See Exhibz`t
“B ” attached hereto.

20. The Plaintiff responded to the letter dated January 27, 2015 via phone and a letter See
Exhz'bit “C ” attached hereto.

21. The Plaintiff called AT&T in February 2015 inquiring about the letter she received from
EOS CCA and was told they did not have any record of the account number referenced in
the letter from EOS CCA.

22. The Plaintiff called EOS CCA for the second time on March 13. 2015, informing them
that she does not owe AT&T any money. The Defendant EOS CCA told the Plaintiff that
they would investigate her dispute with AT&T and verify if the debt is accurate

23. On March 17th EOS CCA contacted Expen`an and reported that the Plaintiff owed
$268.47 and this occurred during the time the Plaintiff was disputing the debt that was
placed or otherwise transferred to EOS CCA for collections by AT&T.

24. The Plaintiff received a letter from EOS CCA dated April 7 , 2015, on or about April 18,
2015 at which time the Plaintiff called EOS CCA and disputed the debt again. See Exhibz`t
“D ” attached hereto.

25. The Plaintiff received a check dated Apn'l 16, 2015 from AT&T referring a refund of
deposit, which was provided to AT&T by the Plaintiff for her U-Verse account See
Exhibz't “E ” attached hereto.

26. The Plaintiff contacted AT&T concerning their Arbitration that is required according to
the U-Verse agreement, and spoke to Racene Day from AT&T and exchanged e-mails
With Ms. Day. See Exhibit “F ” attached hereto.

27 . The Plaintiff sent a letter in accordance to the U-Verse agreement and arbitration
requirements See Exhibit “G” attached hereto.

28. The Plaintiff has just recently learned that EOS CCA is now reporting the AT&T debt to
Trans Union and they continue to report to Experian.

Count I

29. The allegations of Paragraphs l through 28 of the complaint are re-alleged and
incorporated herewith by references

30. The Defendant violated the FDCPA pursuant to 15 U.S.C. § 1692c, when they failed to
communicate the proper U-Verse account number..

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Count II

The allegations of Paragraphs l through 30 of the complaint are re-alleged and
incorporated herewith by references

The Defendant violated the FDCPA pursuant to 15 U.S.C. § l692d, using the incorrect
reporting to the Plaintiffs credit report as a way to harass her, and abusing their authority

Count l]I

The allegations of Paragraphs l through 32 of the complaint are re-alleged and
incorporated herewith by references

The Defendant violated the FDCPA pursuant to 15 U.S.C. § l692e, when falsely
provided the wrong account for the U-Verse account number, presented and misleading
representation of the debt to the Experian and Trans Union.

Count II]]

The allegations of Paragraphs 1 through 34 of the complaint are re-alleged and
incorporated herewith by references

The Defendant violated the FDCPA pursuant to 15 U.S.C. § 1692f, for unfair practice

Count V

The allegations of Paragraphs 1 through 36 of the complaint are re-alleged and
incorporated herewith by references

The Defendant violated the FDCPA pursuant to 15 U.S.C. § l692g, when they failed to
Valid the debt when the Plaintiff, initially disputed the debt, and when the Plaintiff
disputed the debt for the third time.

Count VI

The allegations of Paragraphs 1 through 38 of the complaint are re-alleged and
incorporated herewith by references

The Defendant violated FCRA pursuant to 15 U.S.C. § l681s,-2(b) when AT&T failed to
communicate the proper information on the U-Verse account to EOS CCA, whom
continued to report to Experian and Trans Union, and AT&T failed to inform EOS CCA
that the account was disputed and satisfied by both AT&T and the Plaintiff.

Count VII

The allegations of Paragraphs l through 40 of the complaint are re-alleged and

incorporated herewith by references

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The Defendant AT&T and EOS CCA violated the FCRA by their conduct, action and
inaction was willful, deliberate, intentional and/or with reckless disregard for Plaintiffs
interest and rights so as to justify an award of actual or statuary and punitive damages
against AT&T and EOS CCA in an amount to be determined by the Court pursuant to 15
U.S.C. § 1681n. Alternatively, AT&T and EOS CCA were negligent entitling Plaintiff to
her actual damages pursuant to 15 U.S.C. § 16810, and her fees, cost and Attorney fees

Pray For Relief

WHEREFORE, the Plaintiff prays that the Court grant the following:

A finding that the Defendants violated the FDCPA and/or an admission from the
Defendant that it violated the FDCPA, FCRA and correct the credit reporting

Actual damages under 15 U.S.C. § 1692k(a)(l); § 1681n

Statutory damages under 15 U.S.C. § 1692k(a)(2)(A); § 1681n

Reasonable attorneys fees and costs pursuant to 15 U.S.C. § l692k(a)(3); § 16810
Such other and further relief as the Court deems just and proper.

Respectfully submitted,

Deborah Walton

1287 8 Mayfair Lane

Carmel, lN 46032

Request and Demand for a Jury Trail

May 26, 2015

 

  

Deborah Walton pro se

 
 

